      Case 1:22-cv-02292-CKK-GMH Document 45 Filed 05/01/24 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
v.                                   )    Case No. 22-cv-2292 (CKK/GMH)
                                    )
PETER K. NAVARRO,                   )
                                    )
                  Defendant.        )
____________________________________)

                                              ORDER

       On April 9, 2024, Judge Kollar-Kotelly referred this case to the undersigned “to conduct an

in camera review of the documents in Defendant’s possession, custody, or control that may be

Presidential records as that term is defined by the Presidential Records Act, 44 U.S.C. §§ 2201 et

seq., and to issue a Report and Recommendation recommending a disposition as to those records.”

ECF No. 43. According to that referral, Defendant must, by May 31, 2024, lodge with the

Chambers of the undersigned “all documents that prior searches have identified as potential

Presidential records as described in the status reports and any other searches run by Defendant to

identify potentially responsive records,” as well as adhere to certain labeling requirements for those

documents. Id. (internal citations omitted) (citing ECF Nos. 29, 33, 40). In furtherance of that

referral, this Order describes the manner in which those documents should be lodged.

       First, the documents shall be accompanied by an Excel spreadsheet table in the vein of a

privilege log or Vaughn index. The table shall include a row for each document to be lodged with

the undersigned, and columns reflecting the following information: (1) the Bates number and/or

“DCD_Review” number; (2) the date and time of the communication; (3) the name and position

(e.g., title and agency or employer, or, for personal contacts, relationship to Defendant) of sender;
        Case 1:22-cv-02292-CKK-GMH Document 45 Filed 05/01/24 Page 2 of 2




(4) the name and position (e.g., title and agency or employer, or, for personal contacts, relationship

to Defendant) of recipient(s); (5) the name and position (e.g., title and agency or employer, or, for

personal contacts, relationship to Defendant) of any individuals copied on the communication(s);

(6) a brief description of the topic of the communication(s); (7) a notation as to whether the

document was reviewed by Judge Kollar-Kotelly and, if so, her decision as to the document; (8) a

notation as to whether the document has been produced to the government; and (9) for any and all

documents that have not as yet been produced to the government, a brief explanation as to why

Defendant believes that document is not a Presidential record. 1

        Second, the documents shall be lodged in both electronic form and hard copy. In both forms,

a slip sheet including the Bates number and/or “DCD_Review” number shall precede each

document. The documents shall further be organized into the following categories: (a) documents

reviewed by Judge Kollar-Kotelly and found to be Presidential records; (b) documents reviewed by

Judge Kollar-Kotelly and found not to be presidential records; (c) documents reviewed by Judge

Kollar-Kotelly about which no decision has yet been made; (d) documents already produced to the

government (excluding those reviewed by Judge Kollar-Kotelly and found to be Presidential

records, that is, the documents in category (a)); (e) documents not yet produced to the government

(excluding those reviewed by Judge Kollar-Kotelly and found not be to Presidential records and

those about which a decision has not yet been made, that is, the documents in categories (b) and

(c)).

                                                                       Digitally signed by G.
SO ORDERED.                                                            Michael Harvey
                                                                       Date: 2024.05.01
Date: May 1, 2024                                                      16:27:36 -04'00'
                                                     _________________________________
                                                     G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE

1
  The description called for in category (9) should be brief, in the manner of a shorthand, and if necessary may be
linked to a legend or key.

                                                        2
